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Gmail

David Tom <david.m.tom@gmail.com>

 

Your Market Report for 657 N Hedgecock Square, Satellite Beach, FL

Paige Lane <no-reply@brivitycma.com> Thu, Aug 18, 2022 at 4:26 PM
Reply-To: Paige Lane <paige@lanehometeam.com>
To: David Tom <david.m.tom@gmail.com>

 

Your new Market Report is now available!

 
    

   

kw

KELLERWILLIAMS REALTY

 

 

Paige Lane
(321)-626-0889
Keller Williams Realty Brevard

Hello,

Here is an update on how sales and home prices are trending for 657 N Hedgecock Square, Satellite
Beach, FL, Residential, 3 - 4 beds, up to 2.0 baths, 1.0 mile radius.

30 Day Trends

Average List Price Average Days on Market

$643,083 55 days

New Listings Sold Listings

6 homes 4 homes

PLAINTIFF’S
EXHIBIT

j
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